Case 7:21-cv-00088-WLS Document 1-1 Filed 07/14/21 Page 1 of 10




                          Exhibit A
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                                                                     10     COUNTY, GEORGIA
                                                                                         Lowndes County - Superior Court
                                                                                                              2021CV0898
                                                                                                         6/3/2021 4:01 PM
                                                                                                            Beth C. Greene
                                                                                    Clerk of Superior State Juvenile Courts
                                                                                                Reviewed by: Stacy Barrett
                   IN THE SUPERIOR COURT OF LOWNDES COUNTY
                               STATE OF GEORGIA

TALESHA SCHELL and                     *
CASSANDRA PRESLEY,                     *
                                       *              CIVIL ACTION
      Plaintiff,                       *
v.                                     *                        2021CV0898
                                                      FILE NO. _____________________
                                       *
PV HOLDING CORP. and                   *
JOHN DOE,                              *
                                       *
      Defendants.                      *
_______________________________________

                                           SUMMONS

TO:    PV HOLDING CORP.
       C/O CORPORATION SERVICE COMPANY, AS REGISTERED AGENT
       2 SUN COURT, SUITE 400
       PEACHTREE CORNERS, GA 30092

       You are hereby summoned and required to file with the Clerk of said Court and serve

upon Jody D. Peterman, Plaintiff’s attorney, whose address is Jody D. Peterman, LLC, P.O. Box

6010, Valdosta, GA 31603-6010, an answer to the Complaint which is herewith served upon

you, within thirty (30) days after service of this summons upon you, exclusive of the day of

service. If you fail to do so, judgment by default will be taken against you for the relief

demanded in the complaint.
                             June
       This the3rd
                ____ day of ___________________, 2021.



                                               /s/ Stacy Barrett
                                            ___________________________
                                       Dep. CLERK OF COURT
        Case 7:21-cv-00088-WLS Document 1-1 Filed 07/14/21 Page 3 ofLOWNDES
                                                                     10     COUNTY, GEORGIA
                                                                                                  Lowndes County - Superior Court
                                                                                                                       2021CV0898
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                                                                                                                     Beth C. Greene
                                                                                             Clerk of Superior State Juvenile Courts
                                                                                                         Reviewed by: Stacy Barrett
                  IN THE SUPERIOR COURT OF LOWNDES COUNTY
                              STATE OF GEORGIA

TALESHA SCHELL and                     *
CASSANDRA PRESLEY,                     *
                                       *                    CIVIL ACTION
      Plaintiff,                       *
v.                                     *                               2021CV0898
                                                            FILE NO. _____________________
                                       *
PV HOLDING CORP. and                   *
JOHN DOE,                              *
                                       *
      Defendants.                      *
_______________________________________

                                             COMPLAINT

       COME NOW Talesha Schell and Cassandra Presley, Plaintiffs in the above-styled action,

and file this their Complaint against the Defendants, showing the Court as follows:

                                                      1.

       Plaintiffs are residents of Lowndes County, State of Georgia.

                                                      2.

       Defendant PV Holding Corp. is a foreign corporation organized in the State of Delaware.

Defendant PV Holding Corp. is authorized to and does transact business in the State of Georgia

and in the State of North Carolina.

                                                      3.

       Defendant John Doe is a resident of Lowndes County, State of Georgia.

                                                      4.

       Jurisdiction and venue are proper in this Court.




                     Talesha Schell and Cassandra Presley v. PV Holding Corp. and John Doe
                                        Superior Court of Lowndes County
                                                   Complaint
                                                   Page 1 of 5
        Case 7:21-cv-00088-WLS Document 1-1 Filed 07/14/21 Page 4 of 10




                                                       5.

       On or about June 6, 2019, at approximately 1:05 p.m., Plaintiffs had been traveling on

Interstate 95 near Rowland, North Carolina, and were on the off ramp leading onto U.S.

Highway 301.

                                                       6.

       On the same date and same approximate time, Defendant John Doe had also been

traveling in this same area and was approaching Plaintiffs’ vehicle. Defendant John Doe failed

to reduce the speed of his/her vehicle, and struck Plaintiffs’ vehicle.

                  COUNT I: DEFENDANT JOHN DOE’S NEGLIGENCE

                                                       7.

       Plaintiffs incorporate paragraphs 1 through 6 into Count I of this complaint.

                                                       8.

       Defendant John Doe failed to exercise due care while driving.

                                                       9.

       Defendant John Doe negligently drove his/her vehicle into Plaintiffs’ vehicle.

                                                      10.

       Plaintiffs had no control over Defendant John Doe’s actions.

                                                      11.

       Due to the manner of the collision, Plaintiffs were unable to avoid the collision.

                                                      12.

       The proximate cause of the collision was solely the negligence of the Defendant John

Doe.



                      Talesha Schell and Cassandra Presley v. PV Holding Corp. and John Doe
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                                                    Page 2 of 5
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                                                      13.

        Defendant John Doe was negligent in the following particulars, but not limited to these

particulars:

        a.      Failure to keep a proper lookout;

        b.      Failure to use due care while driving;

        c.      Driving too fast for conditions; and

        d.      Driving in a manner as to collide with another vehicle.

             COUNT II: NEGLIGENCE OF DEFENDANT PV HOLDING CORP.

                                                      14.

        Plaintiffs incorporate paragraphs 1 through 13 into Count II of this Complaint.

                                                      15.

        At the time of the accident, Defendant John Doe was employed by Defendant PV

Holding Corp.

                                                      16.

        At the time of the accident, the vehicle driven by Defendant John Doe was owned by

Defendant PV Holding Corp.

                                                      17.

        At the time of the accident, Defendant John Doe was acting in the course and scope of

his/her employment and in furtherance of the business of Defendant PV Holding Corp.

                                                      18.

        Defendant PV Holding Corp. is vicariously liable for the acts and omissions of Defendant

John Doe as to the accident involving Plaintiffs.



                      Talesha Schell and Cassandra Presley v. PV Holding Corp. and John Doe
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                                                    Complaint
                                                    Page 3 of 5
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                                                      19.

       Defendant John Doe was incapable of safely operating a motor vehicle based on his/her

age, intelligence, and/or experience, and based on his prior driving history.

                                                      20.

       Defendant PV Holding Corp. negligently entrusted its vehicle to Defendant John Doe.

                                       COUNT III: DAMAGES

                                                      21.

       Plaintiff incorporates paragraphs 1 through 20 into Count III of this Complaint.

                                                      22.

       As a result of the Defendants’ negligence, Plaintiffs have suffered bodily injuries.

                                                      23.

       Plaintiffs have each incurred medical and medically related bills as a result of the injuries

suffered as a result of the Defendants’ negligence.

                                                      24.

       Plaintiffs will each continue to incur medical and medically related bills.

                                                      25.

       Plaintiffs will each continue to endure pain and suffering.

                                                      26.

       Plaintiffs will each suffer pain and discomfort in their whole bodies for the rest of their

lives. Plaintiffs’ injuries are permanent in nature.

                                                      27.

       Plaintiffs each incurred lost wages as a result of the Defendants’ negligence.



                      Talesha Schell and Cassandra Presley v. PV Holding Corp. and John Doe
                                         Superior Court of Lowndes County
                                                    Complaint
                                                    Page 4 of 5
        Case 7:21-cv-00088-WLS Document 1-1 Filed 07/14/21 Page 7 of 10




                                                        28.

        The damages suffered by Plaintiffs herein are the direct and proximate result of

Defendants’ negligent acts.

       WHEREFORE, Plaintiffs pray as follows:

       a.      That process issue as provided by law;

       b.      A trial by jury;

       c.      Judgment against the Defendants jointly and severally for medical bills, lost

               wages, and pain and suffering of Talesha Schell in the amount of $25,000.00 plus

               costs;

       d.      Judgment against the Defendants jointly and severally for medical bills, lost

               wages, and pain and suffering of Cassandra Presley in the amount of $95,000.00

               plus costs;

       e.      Judgment against Defendants for reasonable attorney’s fees and all costs of this

               action;

       f.      Such other and further relief as this Court may deem just and proper.



This the 3rd day of June, 2021.
                                                               _/s/ Jody D. Peterman____
                                                               JODY D. PETERMAN
                                                               Attorney for Plaintiffs
                                                               Georgia Bar No.: 573552
Jody D. Peterman, LLC
P.O. Box 6010                                                  _/s/ Dillon P. Hanson_____
Valdosta, GA 31603-6010                                        DILLON P. HANSON
(229) 247-0386                                                 Attorney for Plaintiffs
petermanlawoffice@yahoo.com                                    Georgia Bar No.: 883590
dhanson.petermanlaw@gmail.com


                        Talesha Schell and Cassandra Presley v. PV Holding Corp. and John Doe
                                           Superior Court of Lowndes County
                                                      Complaint
                                                      Page 5 of 5
                       Case 7:21-cv-00088-WLS Document 1-1 Filed 07/14/21 Page 8 ofLOWNDES
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        SHERIFF'S ENTRY OF SERVICE                                                                                            Clerk
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                                                                                                                                 CASTLEBERRY        State Juvenile
                                                                                                                                             CO., COVINOTON, GA 30014 Courts
                                                                                                                                            Reviewed by: Stacy Barrett
        Civil Action # 2021 CV0898                                                      Superior Court             1~
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                          6/4/21
        Date Filed
                                                                                                                                 LOWNDES COUNTY

                                                                                         Talesha Schell and Cassandra Presley
        Attorney's Address
                       Jody D. Peterman, LLC
                                                                                                                                                       Plaintiff
                       304 N. Ashley Street
                                                                                                                         VS.
                       Valdosta, GA 31601
                                                                                         PV Holding Corp. and
        Name and Address of Party to be Served.
                                                                                         John Doe
         MGA Insurance Company, Inc.
                                                                                                                                                    Defendant
         c/o The Prentice Hall Corp System, as Registered Agent

         2 Sun Court, Suite 400

         Peachtree Corners. GA 30092
                                                             SHERIFF'S ENTRY OF SERVICE

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        1 have this day served the defèndant                                                                                           personally with a cePY
        of the within action and summons.
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        I have this day served the defendant                                                                                                    _. by leà ~g a
cn      copy of the action and summons at his most notorious place of abode in this County.
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v_ 0    Delivered same into hands of                                                                                                    described as fóllows:
~       age, about                 years; weight, about                  pounds; height, about                 feet and _             ~ inches, domicifi~d at
z       the residence of defendant.
z
0
~=      Served the defendant
à ~ by leaving a copy of the within action and summons with
Q                                                                                   ~~
        in charge of the office and place of doing business of said Corporation in this County.
                                Summons, Complaint
_J

    1 have this day served the above styled affidavit and summons on the defendants) by posting a copy of the same to the door of the premises
~ 0 designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class. in an
à
f-
    envelope properly addressed to the defendants) ae the address shown in said summons, with adequate postage affixed thereon containing notice
    to the defendants) to answer said summons at the place stated in the summons.

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w     Diligent search made and defendant
z ~ not to be found in the jurisdiction of this Court.
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        This ~~day of ~~ 1/ f I~, 20~.

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                                                                                                  ~       ~ ~n))~~,~
                                                                                                                   ~—                                  DEPUTY

        SHERIFF DOCKET                        PAGE
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                        Case 7:21-cv-00088-WLS Document 1-1 Filed 07/14/21 Page 9 ofLOWNDES
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           SHERIFF'S ENTRY OF SERVICE
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           Civil Action #     2021 CV0898                                                  Superior Court            è0
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           Date Filed
                                                                                                                                   LOWNDES COUNTY

                                                                                            Talesha Schell and Cassandra Presley
           Attorney's Address
                          Jody D. Peterman, LLC
                                                                                                                                                           Plaintiff
                          304 N. Ashley Street
                                                                                                                            VS.
                          Valdosta, GA 31601
                                                                                            PV Holding Corp. and
           Name and Address of Party to be Served.
                                                                                            John Doe
           PV Holding Corp.
                                                                                                                                                        Defendant

            c/o Corporation Service Company, as Registered Agent

            2 Sun Court, Suite 400

            Peachtree Corners, GA 30092                                                                                                                  Garnishee
                                                                SHERIFF'S ENTRY OF SERVICE

J
Q

           I have this day served the defendant                                                                                              personally with a copy
it         of the within action and summons.
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           I have this day served the defendant                                                                                     ~ '             by leaping a
           Dopy of the action and summons at his most notorious place of abode in this County.                                      '', .+     -_     ;.~ <:~
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~          Delivered same into hands of                                                                                                  ~ described as fg(ïows:
~          age, about                 years; weight, about                  pounds; height, about                 feet and _                   inches, doiïiier̀F_éd at
z          the residence of defendant.                                                                                                                           `
z                                                                                                            -.
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Q ~ Served the defendant                                                  ~                            ._.-                                            a corporation

0.  by leaving a copy of the within acxion and summons with                                  ~        ~,~~~~ ~~
~          in charge of the office and place of doing business of said Corporation in this County.
                                  Summons, Complaint
_J

        1 have this day served the above styled affidavit and summons on the defendants) by posting a copy of the same to the door of the premises
°'~ 4 designated in said affidavit, and on the same day of such posting by depositing a true copy of same in the United States Mail, First Class. in an
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        envelope properly addressed to the defendants) at the address shown in said summons, with adequate postage afi"txed thereon containing notice
        to the defendants) to answer said summons at the place stated in the summons.


,`;~     Diligent search made and defendant
       D not to be found in the jurisdiction of this Court.
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           This _~ day of ~~~, 20 ~.


                                                                                                     (~ ' ` ~                 `          SD    I`          DEPUTY
           SHERIFF DOCKET                       PAGE
           WHITE••CLERK     CANARY--PLAINTIFF     PINK••DEFENDANT
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                                                                       10    COUNTY, GEORGIA
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                                                                                    Clerk of Superior State Juvenile Courts
                                                                                                Reviewed by: Stacy Barrett
                   IN THE SUPERIOR COURT OF LOWNDES COUNTY
                               STATE OF GEORGIA

TALESHA SCHELL and                     *
CASSANDRA PRESLEY,                     *
                                       *              CIVIL ACTION
      Plaintiff,                       *
v.                                     *              FILE NO.: 2021CV0898
                                       *
PV HOLDING CORP. and                   *
JOHN DOE,                              *
                                       *
      Defendants.                      *
_______________________________________

                                           SUMMONS

TO:    MGA INSURANCE COMPANY, INC.
       C/O THE PRENTICE HALL CORP SYSTEM, AS REGISTERED AGENT
       2 SUN COURT, SUITE 400
       PEACHTREE CORNERS, GA 30092

       You are hereby summoned and required to file with the Clerk of said Court and serve

upon Jody D. Peterman, Plaintiff’s attorney, whose address is Jody D. Peterman, LLC, P.O. Box

6010, Valdosta, GA 31603-6010, an answer to the Complaint which is herewith served upon

you, within thirty (30) days after service of this summons upon you, exclusive of the day of

service. If you fail to do so, judgment by default will be taken against you for the relief

demanded in the complaint.

       This the ____        June
                4th day of ___________________, 2021.


                                                  /s/ Stacy Barrett
                                            ___________________________
                                       Dep. CLERK OF COURT
